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                 EXHIBIT 74
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                           DOCUMENT PRODUCED IN NATIVE FORMAT




                           DOCUMENT PRODUCED IN NATIVE FORMAT




HI GHLY CONFIDENTIAL - SUBJECT TO PROTECT IVE ORDER                             ABDCMDL00269266
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       Drug Enforcement Administration
      Pharmaceutical Industry Conference

                         Wholesale Distribution
                       Diversion Control Program

                                     September 11, 2007

Chris Zimmerman
Vice President - Corporate Security & Regulatory Affairs
AmerisourceBergen Corporation


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Regulatory Responsibility

 Title 21 of the Code of Federal Regulations:

     1301.71(a) - "All applicants and registrants
     shall provide effective controls and procedures to
     guard against theft and diversion of controlled
     substances.“



    Distributor Response: Develop policy to ….



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HOW?
 Distributors usually implement policies that mirror the
  Code of Federal Regulations’ requirements:
 1301.72 - Physical Security Controls – vault / cage construction
   and alarm system requirements – No Problem

 1304 – Records and Reports of Registrants – information,
   maintenance, and inventory requirements – No Problem

 1305 – Orders For Schedule I & II Controlled Substances –
   ordering, filling, executing, and endorsing DEA Forms 222 – No
   Problem

 1301.74 – Other Security Controls – make a good faith inquiry;
   report suspicious orders; report significant losses – gray area


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Regulatory Responsibility

 Title 21 of the Code of Federal Regulations:


     1301.74(b) - "The registrant shall design and operate a
     system to disclose to the registrant suspicious
     orders of controlled substances. The registrant shall
     inform Field Diversion Office of the Administration in
     his area of suspicious orders when discovered by the
     registrant."




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Regulatory Responsibility

      Reporting suspicious orders to DEA does NOT
       relieve the distributor of the responsibility to maintain
       effective controls to prevent diversion.

      DEA cannot / will not tell a distributor:
             – if an order is or is not legitimate; and/or
             – if the distributor should or should not ship an order

      Distributor must make a “business” decision
       whether or not to ship the order.




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ABC’s Diversion Control Program


  “Know Your Customer” Due Diligence

  Order Monitoring Program (OMP)

  Investigations

  Education and Training




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New Customer Due Diligence


   “Know Your Customer” Due Diligence investigations
    completed on all new Retail and Wholesale Accounts.
     – Retail chain pharmacies are exempted.


   Included in New Account Setup Process
    – New Account Questionnaire
    – On-site visit includes photographs inside and out
      (or physical description of premises)




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New Customer Due Diligence


   Monthly Sales Limits
    – All new accounts set at the lowest threshold level
     for DEA business type in ABC’s Order Monitoring
     Program (OMP)

   “Do Not Ship” List
    – Customers to whom ABC has ceased distribution to
      due to suspicious activity
    – Other sources



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Order Monitoring Program (OMP)

     The Controlled Substances/Listed Chemicals Order
      Monitoring Program (OMP) was developed to
      identify suspicious orders and purchasing trends.

     Historically Controlled Substance / Listed Chemical
      order monitoring has been based on a ship and
      report process.

     ABC’s OMP process is now based on:
      identify, capture, investigate, and report suspicious
      orders; all prior to shipment.


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OMP Customer Account Type and Size


Each Customer is classified by “Customer Type,” which
 represents how the customer is registered with DEA.
     – Hospital/Clinic, Retail Pharmacy, Distributor, etc.
     – This value is loaded using the NTIS Database synch process.


Each customer is then categorized by “Customer Size”
 based upon average revenue relative to its peers in the
 same “Customer Type.”



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OMP Item Family and Threshold


 All controlled substance and listed chemical products
  are grouped into item “families” based upon the drug’s
  active ingredient, which has a corresponding Generic
  Code Number (GCN).


 The OMP will combine all sales of items within the
  same GCN family (e.g., hydrocodone / vicodin;
  oxycodone / percocet; Alprazolam / Xanax), for each
  customer.


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OMP Item Family and Threshold


 Item threshold levels are established from
  accumulated monthly sales for all customers based on
  item family, DEA type, and customer size.


 A customer’s threshold level is initially set by item
  family based on the customer’s DEA type and
  customer size.




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OMP Order Processing


 A customer’s incoming orders are accumulated by item
  family, and the total item family order quantity is applied
  to the predetermined Item family monthly threshold.


 If the order quantity falls below the Item family threshold,
  the order will process normally.




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OMP Order Processing

 If the order quantity goes over the item family threshold,
  the order will be placed into “OMP Review.”

 All subsequent orders within the same item family will be
  rejected while an item within the same family is under
  review.

 Each distribution center (DC) is responsible for initial
  review of all orders in OMP Review.
  – If the DC can determine the order is not suspicious, the DC will release the
    order.
  – If the DC is unsure, the order will be flagged to be investigated by
    Corporate (CSRA).


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OMP Order Processing


  All OMP orders that the DC released, as well as those
   flagged for CSRA Review, are sent to CSRA each
   morning.

  Based upon information available to CSRA, flagged
   orders will either be released or placed in “Investigate”
   status.

  All orders placed into Investigate status are
   electronically reported to DEA on a daily basis.



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OMP Order Processing


  CSRA conducts the investigation and will notify the
   distribution center of the final disposition of the order
   (release or cancel).


  CSRA will also determine if any permanent action
   needs to be taken with the customer.
      – Customers who have legitimate needs will have their size or
        threshold levels increased.
      – Customers with continued suspicious ordering patterns may
        have their ability to order control substances effected.



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                                                  Order Monitoring Process                                                                    })]
                                                          (OMP)                                                                      AmerisourceBergen




                                                                                       Business Rules:
                                                                             JI>     -DEA Business Type
b°' El El El El El El El I
    DC Receives Order
                                                                                        - Account S ize
                                                                                   - Usage Based on other
                                                                                     Like Business Types
                                                                                      -By GCN, by Dose




                                                                                                                                                  Hold
                                                                                                             DC Staff                           Current
                                                                                                                                                a nd all
                                                                                        Transfer                                                Future
                                                                                        Order to                           No A ction Taken     Orders
                                                                                        Hold File                                                 from
                                                                                                                                               Customer
                                                                                                                                                 of like
                                Report                                                                                                           items.
                             Transaction
                             Via ARCOS                                                              Delete                 Accept/
                                                                                                    Entire                 Approve
                                           P rocess Order as Normal                                 Order                   O rder
                                                                                                      L                    _J

                                                                                                               Reports
                                                                                                              to CSRA
                                                                                                             for review


                                                                                                                CSRA
                                                                                                              Reports
                                                                                                             suspicious
                                                                                                              o rders to
                                                                                                                 DEA
                                                                               -- 17
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                  Customer CS Order



Below Threshold                           Above Threshold



  Release/Ship                          Hold for DC Review



                                              DC Review


                       Release/Ship                                  Hold for                                    Cancel
                     Report to CSRA                              CSRA Review                              Report to CSRA


                                                                                                               CSRA Review


                                                                                                                                    Report to DEA
                                                                                          Release/Ship
                                                                                                                                   and Investigate
                                                                          - 18 -
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Order Monitoring Program (OMP)

  A Distributor can’t solely rely on computer
   systems and programs to prevent diversion.

  All employees have a role and responsibility in a
   successful Order Monitoring Program:
        – Sales
        – Procurement
        – Management (DC / HQ)
        – Order fillers
        – Customer service
        – IT



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Investigations
      Sources of Investigations
        – Order Monitoring Program (OMP)
        – Monthly Customer Product Mix Report
        – Notification by DEA
        – Notification by ABC DC

      Typical Investigation Process
        – One-year purchase history
        – On-site inspection
        – CSRA Form 590c Retail Pharmacy Verification Checklist

      Decision
        – Cease distribution of CS/LC to customer
        – Customer Sign applicable compliance agreement




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Education and Training
 All appropriate associates are trained on ABC’s Diversion
  Control Program

  ABC also holds training and educational courses for its
  customers and vendors regarding this subject matter.




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